


TROY LEE HARMS V STATE OF TEXAS



 NO. 07-02-0084-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



MARCH 18, 2002


______________________________



JEFF VILLARREAL




		Appellant


v.



THE STATE OF TEXAS, 




		Appellee

_________________________________



FROM THE 140TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 94-418,502; HON. JIM BOB DARNELL, PRESIDING


_______________________________



ABATEMENT AND REMAND


_______________________________



Before BOYD, C.J., QUINN and REAVIS, JJ.

	Appellant, Jeff Villarreal, appeals from a judgment convicting him of attempted
robbery and sentencing him to prison for five years.  The clerk's record is due in this cause,
and an extension of the applicable deadline was sought.  To justify the extension, the
district clerk represented that appellant has not paid or made arrangements to pay for the
record.  However, it appears that appellant sought the appointment of counsel at one time
due to his inability to employ same.   If he is a pauper and unable to pay the fees and costs
associated with an appeal, he also would be entitled to acquire a free appellate record.

	Accordingly, we now abate this appeal and remand the cause to the 140th District
Court of Lubbock County (trial court) for further proceedings.  Upon remand, the trial court
shall  immediately cause notice of a hearing to be given and, thereafter, conduct a hearing
to determine the following: 

	1.  whether appellant desires to prosecute the appeal; 

	2.  whether appellant is indigent; and,

	3.  whether the appellant is entitled to a free appellate record due to his indigency. 

The trial court shall cause the hearing to be transcribed.  So too shall it 1) execute findings
of fact and conclusions of law addressing the foregoing issues, 2) cause to be developed
a supplemental clerk's record containing the findings of fact and conclusions of law and all
orders it may issue as a result of its hearing on this matter, and 3) cause to be developed
a reporter's record transcribing the evidence and arguments presented at the
aforementioned hearing.  Additionally, the district court shall then file the supplemental
record with the clerk of this court on or before April 17, 2002.  Should further time be
needed by the trial court to perform these tasks, then same must be requested before April
17, 2002. 

      It is so ordered. 

                                                            				Per Curiam 


Do not publish. 

          



160;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant

v.

THE STATE OF TEXAS, 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee

_________________________________

FROM THE 121ST DISTRICT COURT OF TERRY COUNTY;

NO.  5426; HON. KELLY G. MOORE, PRESIDING

_______________________________
&nbsp;
Before QUINN, C.J., HANCOCK, J., and BOYD, S.J.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Brennen Young appeals from an order adjudicating him guilty of the
offense of aggravated sexual assault.  Pursuant to a plea agreement, appellant pled guilty
to the offense on June 21, 2006, and the trial court deferred the adjudication of his guilt
and placed him on community supervision for ten years.  Subsequently, the State filed a
motion to proceed with the adjudication of his guilt.  Appellant pled not true to the alleged
violations of the terms of his community supervision, and the trial court conducted a
hearing on same.  The court adjudicated his guilt and sentenced him to fifteen years in
prison on September 11, 2007.  The trial court granted appellant permission to appeal on
September 12, 2007. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s counsel has now moved to withdraw, after filing a brief pursuant to
Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), and
representing that he has searched the record and found no arguable grounds for reversal. 
The motion and brief illustrate that appellant was informed of his right to review the
appellate record and file his own brief.  So too did we inform appellant that any pro se
response or brief he cared to file had to be filed by April 21, 2008.  On April 16, 2008,
appellant filed a response wherein he requested counsel be appointed to assist him in his
response.  On April 17, 2008, we advised appellant that he was presently represented by
counsel and that if this court determined new counsel should be required the case would
be returned to the trial court for the appointment of new counsel.  Furthermore, we advised
appellant that his pro se response, if any, was due on May 8, 2008.  To date, appellant has
filed no pro se response or brief.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In compliance with the principles enunciated in Anders, appellate counsel discussed
two potential areas for appeal involving the adjudication and punishment hearing. 
However, after discussing the evidence adduced at the hearing, he found no reversible
error had occurred.  We have also conducted an independent review of the record to
determine whether there existed reversible error and found none.  Stafford v. State, 813
S.W.2d 503, 511 (Tex. Crim. App. 1991) (requiring us to conduct an independent review). 
Appellant admitted to various of the alleged violations of his community supervision during
his testimony at the adjudication hearing.  And, the punishment assessed was also within
the range prescribed by law.  Tex. Pen. Code Ann. §12.32(a) (Vernon 2003).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we grant counsel’s motion to withdraw and affirm the judgment of the
trial court.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Brian Quinn
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Do not publish.


